Case 1:23-cv-00108-LMB-JFA Document 1007-3 Filed 07/26/24 Page 1 of 15 PageID# 73583




                                DTX-1073 Page 1 of 15
Case 1:23-cv-00108-LMB-JFA Document 1007-3 Filed 07/26/24 Page 2 of 15 PageID# 73584




                                DTX-1073 Page 2 of 15
Case 1:23-cv-00108-LMB-JFA Document 1007-3 Filed 07/26/24 Page 3 of 15 PageID# 73585




                                DTX-1073 Page 3 of 15
Case 1:23-cv-00108-LMB-JFA Document 1007-3 Filed 07/26/24 Page 4 of 15 PageID# 73586




                                DTX-1073 Page 4 of 15
Case 1:23-cv-00108-LMB-JFA Document 1007-3 Filed 07/26/24 Page 5 of 15 PageID# 73587




                                DTX-1073 Page 5 of 15
Case 1:23-cv-00108-LMB-JFA Document 1007-3 Filed 07/26/24 Page 6 of 15 PageID# 73588




                                DTX-1073 Page 6 of 15
Case 1:23-cv-00108-LMB-JFA Document 1007-3 Filed 07/26/24 Page 7 of 15 PageID# 73589




                                DTX-1073 Page 7 of 15
Case 1:23-cv-00108-LMB-JFA Document 1007-3 Filed 07/26/24 Page 8 of 15 PageID# 73590




                                DTX-1073 Page 8 of 15
Case 1:23-cv-00108-LMB-JFA Document 1007-3 Filed 07/26/24 Page 9 of 15 PageID# 73591




                                DTX-1073 Page 9 of 15
Case 1:23-cv-00108-LMB-JFA Document 1007-3 Filed 07/26/24 Page 10 of 15 PageID#
                                   73592




                             DTX-1073 Page 10 of 15
Case 1:23-cv-00108-LMB-JFA Document 1007-3 Filed 07/26/24 Page 11 of 15 PageID#
                                   73593




                             DTX-1073 Page 11 of 15
Case 1:23-cv-00108-LMB-JFA Document 1007-3 Filed 07/26/24 Page 12 of 15 PageID#
                                   73594




                             DTX-1073 Page 12 of 15
Case 1:23-cv-00108-LMB-JFA Document 1007-3 Filed 07/26/24 Page 13 of 15 PageID#
                                   73595




                             DTX-1073 Page 13 of 15
Case 1:23-cv-00108-LMB-JFA Document 1007-3 Filed 07/26/24 Page 14 of 15 PageID#
                                   73596




                             DTX-1073 Page 14 of 15
Case 1:23-cv-00108-LMB-JFA Document 1007-3 Filed 07/26/24 Page 15 of 15 PageID#
                                   73597




                             DTX-1073 Page 15 of 15
